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                           UNITED STATES DISTRICT COURT
                       FOR THE WESTERN DISTRICT OF VIRGINIA
                                   Abingdon Division


 TIMOTHY E. PERRY,

                Plaintiff,

        v.                                         C.A. No. 1:18-cv-0034-JPJ-PMS

 TOYOTA MOTOR CREDIT
 CORPORATION DBA TOYOTA
 FINANCIAL SERVICES, et al.,

                Defendants.


                         ORDER OF DISMISSAL WITH PREJUDICE
                            AS TO TRANSUNION, LLC ONLY

        Before the Court is a joint motion by Plaintiff Timothy E. Perry (Plaintiff) and Defendant

 TransUnion, LLC (TransUnion), to dismiss the case against TransUnion with prejudice, the

 parties having resolved their dispute by compromise. Having considered the matter and deeming

 it proper and just to do so, and pursuant to FED. R. CIV. P. 41(a)(2), the motion is hereby

 GRANTED.

        This matter stands DISMISSED WITH PREJUDICE, with each party to bear its own

 costs and fees. It is further ORDERED, the Court shall retain jurisdiction for purposes of

 enforcement of the settlement of this matter pursuant to Kokkonen v. Guardian Life Ins., 511

 U.S. 375 (1994), subject to the terms of the parties’ settlement agreement.

        It is so ORDERED.

                                                       ENTER: June 6, 2019

                                                       /s/ James P. Jones
                                                       United States District Judge
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